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 1   NICHOLAS STROZZA, ASSISTANT U.S. TRUSTEE
     State Bar #CA 117234
 2   WILLIAM B. COSSITT, #3484
     Office of the United States trustee
 3
     300 Booth Street, Room 3009
 4   Reno NV 89509
     Telephone: (775) 784-5335
 5   Fax: (775) 784-5531
 6   Attorneys for United States Trustee
 7   Tracy Hope Davis

 8                             UNITED STATES BANKRUPTCY COURT

 9                                          DISTRICT OF NEVADA
10   In re                                        )       Case no: BK-N-14-50333-BTB
11   ANTHONY THOMAS and                           )       Chapter 11
     WENDI THOMAS                                 )
12                                                )       NOTICE OF HEARING ON
                                                  )       OBJECTION TO DEBTOR’S
13                                                )       CLAIMS OF EXEMPTIONS
                                                  )
14                                                )       Hearing Date: July 30, 2014
15                                 Debtors,       )       Hearing Time: 10:00 a.m.
                                                  )       Est. Time Req.: 10 min.
16
     To: Debtors; and Parties in Interest
17
            NOTICE IS HEREBY GIVEN that an OBJECTION TO DEBTORS’ CLAIMS OF
18

19   EXEMPTIONS was filed on April 30, 2014 by the United States Trustee. The Objection seeks

20   the following relief: that the Debtor are not entitled to the exemptions they have claimed. Any

21   Opposition, Response, or Reply must be filed pursuant to Local Rule 9014(d).
22
            NOTICE IS FURTHER GIVEN that if you do not want the court to grant the relief
23
     sought in the Objection, or if you want the court to consider your views on the Objection, then
24
     you must file an opposition with the court, and serve a copy on the person making the Objection
25
     no later than 14 days preceding the hearing date of this Objection, unless an exception applies
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27   (see Local Rule 9014(d)(3)). The opposition must state your position, set forth all relevant facts

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 1   and legal authority, and be supported by affidavits or declarations that conform to Local Rule
 2   9014(c).
 3

 4   If you object to the relief requested, you must file a WRITTEN response to this pleading

 5   with the court. You must also serve your written response on the person who sent you this

 6   notice.
 7   If you do not file a written response with the court, or if you do not serve your written
 8
     response on the person who sent you this notice, then:
 9
     •         The court may refuse to allow you to speak at the scheduled hearing and;
10
     •         The court may rule against you without formally calling the matter at the hearing.
11

12
               NOTICE IS FURTHER GIVEN that the hearing on the said Objection will be held
13
     before a United States Bankruptcy Judge, in the Clifton Young Federal Building, 300 Booth
14
     Street, Bankruptcy Courtroom #2, 5th Floor, Reno, Nevada, on July 30, 2014 at the time of 10:00
15

16   a.m.

17

18             DATE: April 30, 2014.
19
                                                            /s/ NICHOLAS STROZZA
20                                                          Attorney for the U.S. Trustee

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 1
                                      CERTIFICATE OF SERVICE
 2
     1.   On April 30, 2014, I served the foregoing NOTICE OF HEARING ON US TRUSTEE’S
 3
     OBJECTION TO DEBTORS’ CLAIMS OF EXEMPTIONS.
 4
     2.     I served the above-named document( by the following means to the persons as listed
 5   below:
 6   ☑       a. ECF System:
 7
            KEVIN A. DARBY kevin@darbylawpractice.com,
 8           alecia@darbylawpractice.com;sarah@darbylawpractice.com;itati@darbylawpractice.com
             ;tricia@darbylawpractice.com
 9          STEFANIE T. SHARP ssharp@rbsllaw.com,
             btaylor@rbsllaw.com;czaehringer@rbsllaw.com
10
            ALAN R SMITH mail@asmithlaw.com
11          U.S. TRUSTEE - RN - 11 USTPRegion17.RE.ECF@usdoj.gov

12
     ☑       b. U.S. Mail, postage fully prepaid (list persons and addresses):
13

14   ANTHONY THOMAS
     WENDI THOMAS
15   7725 PEAVINE PEAK COURT
     RENO, NV 89523
16

17

18
     I declare under penalty of perjury that the foregoing is true and correct.
19
             Signed: April 30, 2014.
20
             /s/ Robbin Little
21
             ROBBIN LITTLE
22

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